       Case 1:13-cr-00077-LJO-BAM Document 97 Filed 04/28/14 Page 1 of 2


     ANTHONY P. CAPOZZI, CSBN: 068525
 1   LAW OFFICES OF ANTHONY P. CAPOZZI
     1233 W. Shaw Avenue, Suite 102
 2   Fresno, California 93711
     Telephone: (559) 221-0200
 3   Facsimile: (559) 221-7997
     E-mail: anthony@capozzilawoffices.com
 4

 5   Attorney for Defendant,
     ROBERT MURGUIA MARTINEZ
 6

 7
                    IN THE UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,          ) Case No.: 1:13-CR-00077-LJO-
                                        ) SKO (001)
11              Plaintiff,              )
                                        )
12       vs.                            ) AMENDED
                                        ) ORDER
13                                      )
                                        )
14                                      )
     ROBERT MURGUIA MARTINEZ,           )
15                                      )
                Defendant.              )
16                                      )
17

18
                                       ORDER
19
         Defendant, Robert Martinez’s conditions of pretrial
20
     release shall be modified as follows:
21
         1. The Defendant shall be permitted to travel by plane to
22
     and from Irapuato, Guanajuato, Mexico, on Monday, April 28,
23
     2014, and returning no later than 11:59 p.m. on Thursday, May
24
     1, 2014.
25
         2. The Clerk of the Court shall release Defendant’s
26
     passport, no. 433035821 (Doc. 14), the morning of April 28,
27
     2014.
28
        Case 1:13-cr-00077-LJO-BAM Document 97 Filed 04/28/14 Page 2 of 2


 1        3. Defendant must meet with Pretrial Services Officer Dan
 2   Stark before leaving on Monday, April 28, 2014.
 3        4. Defendant and custodian must provide Pretrial Services
 4   Officer Dan Stark with telephone numbers and addresses of
 5   where they will be staying.
 6        5. Defendant must provide the flight itinerary for the
 7   trip to and from Irapuato, Guanajuato, Mexico.
 8        6. Defendant must surrender passport upon return on May
 9   1, 2014, or as soon thereafter as reasonable.
10        IT IS SO ORDERED.
11

12
     IT IS SO ORDERED.
13

14     Dated:   April 28, 2014                  /s/ Barbara A. McAuliffe    _
15                                         UNITED STATES MAGISTRATE JUDGE

16

17

18

19

20

21

22

23

24

25

26

27

28
